                  Case 3:19-cv-12920-BRM-TJB Document 1-2 Filed 05/24/19 Page 1 of 1 PageID: 53
JS 44 (Rev. 06/17)                                                         CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS                                                                                             DEFENDANTS
CUBIST PHARMACEUTICALS LLC                                                                                  Cipla USA, Inc. and Cipla Limited

    (b) County of Residence of First Listed Plaintiff             Lucerne, Switzerland                        County of Residence of First Listed Defendant              Somerset County, NJ
                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                                   (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                              NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                         THE TRACT OF LAND INVOLVED.

    (c) Attorneys (Firm Name, Address, and Telephone Number)                                                   Attorneys (If Known)

Elizabeth J. Sher, Day Pitney LLP
One Jefferson Road, Parsippany, NJ 07054, (973) 966-6300

II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                         III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                          (For Diversity Cases Only)                                        and One Box for Defendant)
" 1    U.S. Government                " 3     Federal Question                                                                     PTF        DEF                                          PTF      DEF
         Plaintiff                              (U.S. Government Not a Party)                        Citizen of This State         " 1        " 1      Incorporated or Principal Place       " 4     " 4
                                                                                                                                                         of Business In This State

" 2    U.S. Government                " 4     Diversity                                              Citizen of Another State          " 2    "    2   Incorporated and Principal Place    " 5     " 5
         Defendant                              (Indicate Citizenship of Parties in Item III)                                                             of Business In Another State

                                                                                                     Citizen or Subject of a           " 3    "    3   Foreign Nation                      " 6     " 6
                                                                                                       Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                             Click here for: Nature of Suit Code Descriptions.
           CONTRACT                                              TORTS                                 FORFEITURE/PENALTY                         BANKRUPTCY                    OTHER STATUTES
"   110 Insurance                        PERSONAL INJURY                 PERSONAL INJURY             " 625 Drug Related Seizure          " 422 Appeal 28 USC 158          " 375 False Claims Act
"   120 Marine                       "   310 Airplane                  " 365 Personal Injury -             of Property 21 USC 881        " 423 Withdrawal                 " 376 Qui Tam (31 USC
"   130 Miller Act                   "   315 Airplane Product                Product Liability       " 690 Other                               28 USC 157                       3729(a))
"   140 Negotiable Instrument                 Liability                " 367 Health Care/                                                                                 " 400 State Reapportionment
"   150 Recovery of Overpayment      "   320 Assault, Libel &                Pharmaceutical                                                PROPERTY RIGHTS                " 410 Antitrust
        & Enforcement of Judgment             Slander                        Personal Injury                                             " 820 Copyrights                 " 430 Banks and Banking
"   151 Medicare Act                 "   330 Federal Employers’              Product Liability                                           " 830 Patent                     " 450 Commerce
"   152 Recovery of Defaulted                 Liability                " 368 Asbestos Personal                                           " 835 Patent - Abbreviated       " 460 Deportation
        Student Loans                "   340 Marine                          Injury Product                                                    New Drug Application       " 470 Racketeer Influenced and
        (Excludes Veterans)          "   345 Marine Product                  Liability                                                   " 840 Trademark                        Corrupt Organizations
"   153 Recovery of Overpayment               Liability                 PERSONAL PROPERTY                        LABOR                     SOCIAL SECURITY                " 480 Consumer Credit
        of Veteran’s Benefits        "   350 Motor Vehicle             " 370 Other Fraud             " 710 Fair Labor Standards          " 861 HIA (1395ff)               " 490 Cable/Sat TV
"   160 Stockholders’ Suits          "   355 Motor Vehicle             " 371 Truth in Lending               Act                          " 862 Black Lung (923)           " 850 Securities/Commodities/
"   190 Other Contract                       Product Liability         " 380 Other Personal          " 720 Labor/Management              " 863 DIWC/DIWW (405(g))               Exchange
"   195 Contract Product Liability   "   360 Other Personal                  Property Damage                Relations                    " 864 SSID Title XVI             " 890 Other Statutory Actions
"   196 Franchise                            Injury                    " 385 Property Damage         " 740 Railway Labor Act             " 865 RSI (405(g))               " 891 Agricultural Acts
                                     "   362 Personal Injury -               Product Liability       " 751 Family and Medical                                             " 893 Environmental Matters
                                             Medical Malpractice                                            Leave Act                                                     " 895 Freedom of Information
        REAL PROPERTY                      CIVIL RIGHTS                 PRISONER PETITIONS           " 790 Other Labor Litigation          FEDERAL TAX SUITS                    Act
"   210 Land Condemnation            "   440 Other Civil Rights          Habeas Corpus:              " 791 Employee Retirement           " 870 Taxes (U.S. Plaintiff      " 896 Arbitration
"   220 Foreclosure                  "   441 Voting                    " 463 Alien Detainee                Income Security Act                  or Defendant)             " 899 Administrative Procedure
"   230 Rent Lease & Ejectment       "   442 Employment                " 510 Motions to Vacate                                           " 871 IRS—Third Party                  Act/Review or Appeal of
"   240 Torts to Land                "   443 Housing/                        Sentence                                                           26 USC 7609                     Agency Decision
"   245 Tort Product Liability               Accommodations            " 530 General                                                                                      " 950 Constitutionality of
"   290 All Other Real Property      "   445 Amer. w/Disabilities -    " 535 Death Penalty                 IMMIGRATION                                                          State Statutes
                                             Employment                  Other:                      " 462 Naturalization Application
                                     "   446 Amer. w/Disabilities -    " 540 Mandamus & Other        " 465 Other Immigration
                                             Other                     " 550 Civil Rights                  Actions
                                     "   448 Education                 " 555 Prison Condition
                                                                       " 560 Civil Detainee -
                                                                             Conditions of
                                                                             Confinement
V. ORIGIN (Place an “X” in One Box Only)
" 1 Original             " 2 Removed from                 " 3         Remanded from             " 4 Reinstated or       " 5 Transferred from     " 6 Multidistrict                  " 8 Multidistrict
    Proceeding               State Court                              Appellate Court               Reopened                Another District             Litigation -                   Litigation -
                                                                                                                        (specify)                        Transfer                      Direct File
                                          Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                           35 U.S.C. § 271
VI. CAUSE OF ACTION Brief description of cause:
                                           Patent Infringement
VII. REQUESTED IN     " CHECK IF THIS IS A CLASS ACTION                                                 DEMAND $                                   CHECK YES only if demanded in complaint:
     COMPLAINT:          UNDER RULE 23, F.R.Cv.P.                                                                                                  JURY DEMAND:         " Yes      " No
VIII. RELATED CASE(S)
                       (See instructions):
      IF ANY                               JUDGE                                                                                             DOCKET NUMBER
DATE                                                                     SIGNATURE OF ATTORNEY OF RECORD
05/24/2019                                                              s/Elizabeth J. Sher
FOR OFFICE USE ONLY

    RECEIPT #                     AMOUNT                                     APPLYING IFP                                      JUDGE                          MAG. JUDGE
